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Where people are spending their time
Zuckerberg said, "People have a lot of choices for how they want to spend their time, and apps like TikTok are growing very quickly.”

Indeed, there's a growing number of apps and websites vying for our attention. Anything from Wordle to the latest streaming TV show
technically competes with Facebook. But the fact that Zuckerberg chose to call out TikTok, specifically, was a way for him to introduce the
company's decision to invest more in Reels.

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A few sentences later, Zuckerberg said Reels is one of the top investment priorities for 2022 -- despite the name change to Meta suggesting
he's all-in on metaverse investments. It's already made good on some of those investments, expanding to 150 countries, creating new
editing tools, and improving monetization capabilities for creators to incentivize more content.

A massive competitor growing very fast

Zuckerberg also noted, "The thing that is somewhat unique here is that TikTok is so big as a competitor already and also continues to grow
at quite a faster rate off of a very large base."

Zuckerberg has never faced a competitor quite like TikTok. It has over 1 billion monthly active users, and it's adding hundreds of millions
more per year. While Meta has nearly 3.6 billion users across its apps, growth slowed considerably last year. In fact, its flagship app,
Facebook, saw daily active users decline sequentially for the first time in history last quarter.

TikTok is absolutely a big threat to Facebook and Meta's other social media properties. But this also shows the potential for Reels to grow
much bigger, even as it’s already the biggest source of engagement growth on Instagram. Later in the call, Zuckerberg said: "We face a
competitor in TikTok that is a lot bigger, so it will take a while to compound and catch up there. But fundamentally, you know, we think
that there's a lot of potential for [Reels] to continue growing,” indicating TikTok's success could bode well for the long-term potential of
Reels.

How Reels is different

When asked how Reels differentiates itself from TikTok and similar products, Zuckerberg noted the community around the short-form
video format can play a major role in both the content shared and the conversations around that content. "So, [we're] seeing somewhat
different Reels across Facebook and Instagram, and I'm sure you see different stuff across TikTok, too,” Zuckerberg said.

He went on to note that Meta and TikTok aren't the only companies working on short-form video, and that the format as a whole is taking
hold in lots of different apps, comparing it to photos in feeds and then stories. "We're seeing people spend a lot more time on [short-form
video] than what we've seen from apps so far. And that's also reflected in the success that other apps like TikTok have had. So there's a lot
more to go here,” he added.

As the format grows across multiple apps, the differences will likely become more clear, just as they have with photo and stories sharing in
different apps, including differences between Facebook and Instagram in that regard. Users don't share the same content across Meta
properties, let alone competitors’.

What lies ahead for Meta

While Zuckerberg sees a clear competitive threat from TikTok, he also believes the format it popularized will benefit his company long
term. That's because Reels has the potential to increase overall engagement with its apps, and it also has the potential to monetize at a
similar rate to feeds or stories, instead of the lower rate it sees from long-form video based on what Meta's seen so far.

In the near term, the shift in engagement from feeds and stories to Reels will drag down revenue growth. It could even negatively impact

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The challenge, then, is for Facebook and Instagram to grow their market shares, and keep social media competitors from stealing users
away. That's why Reels remains a top investment priority. Management has a long track record of success in the face of these competitive
threats and transitions, so it's hard to bet against them.

10 stocks we like better than Meta Platforms, Inc.
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They just revealed what they believe are the ten best stocks for investors to buy right now... and Meta Platforms, Inc. wasn't one of them!
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See the 10 stocks
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Randi Zuckerberg, a former director of market development and spokeswoman for Facebook and sister to Meta Platforms CEO Mark
Zuckerberg, is a member of The Motley Fool's board of directors. Adam Levy owns Meta Platforms, inc. The Motley Fool owns and
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Meta Stock Plunges As Apple Privacy Rules,
TikTok Competition Hammer Facebook
Growth

Meta stock shed more than $237 billion in market value Thursday, including $30
billion for CEO Mark Zuckerberg, after a disappointing fourth quarter earnings
report and the first decline in Facebook users in company history.

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Updated at 5:17 pm EST

Meta Platforms (FB) shares erased $237.4 billion in value Thursday, the biggest single-day loss in
the history of the U.S. stock market, following disappointing fourth quarter earnings that highlighted
competition and technical headwinds to the world's biggest social media company.

Facebook missed on the Street's 04 profit forecast, with a bottom line of $3.67 per share on
tevenues of $33.4 billion. User growth rates also slowed, and were largely flat to the previous
quarter, with founder and CEO Mark Zuckerberg noting increasing competition for social media
engagement.

Apple's (AAPL) App Tracking Transparency (ATT) rules have made it difficult for Facebook to
measure the success of some of ad campaigns, resulting in delayed or restricted data.

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In response, the group has had to boost spending -- which will rise to around $95 billion this year —
on Al and machine learnings tools to help define user preferences make targeted ads more
attractive. CFO Dave Wehner said the “headwind on our business in 2022 is on the order of $10
billion’ from Apple's iOS changes.

Daily active users averaged 1.93 billion on average for December, up 5% from last year, while
monthly active users rose 4% to 2.91 billion. Both tallies, however, showed declines in users in the
U.S. and Canada for the first time in the company's 18-year history.

"People have a lot of choices for how they want to spend their time and apps like TikTok are
growing very quickly. And this is why our focus on Reels is so important over the long-term,"
Zuckerberg told investors on a conference call late Wednesday.

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"Ultimately, our continued success relies on building new products that people find valuable and
enjoy using,’ he added. "And in a competitive marketplace, we're focused on understanding the
areas that we need to deliver on for people and executing against this strategy.”

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Meta shares closed 26.4% lower to end the Thursday session at $237.76 each, the lowest since July
of 2020 and a move that wiped out more than $237 billion from the group's market value.

Other social media stocks were pulled into the Meta slump vortex, with messaging app maker Snap
(SNAP) tumbling 23.6% and micro-blogging website Twitter (TWTR) falling 5.55%. Pinterest
(PINS) was also notably lower, down 10.3% to close at $24.51 each.

Facebook said overall group revenues rose 20% to $33.67 billion for the three months ending in
December, just ahead of analysts’ estimates of $33.4 billion, with nearly all of it coming from the
new ‘Family of Apps’ division the company created last year.

Reality Labs, the division that will house the company's metaverse plans, generated revenues of
$877 million, but lost $3.3 billion for the quarter and $10.2 billion for the year.

Looking into the 2022 calendar year, Meta said it sees total capital spending in the region of $90
billion to $95 billion, with first-quarter revenues likely topping out at $29 billion, compared to the
Refinitiv forecast of $30.15 billion.

Wehner also noted in the company's earnings release that "we're hearing from advertisers that
macroeconomic challenges like cost inflation and supply chain disruptions are impacting advertiser
budgets".

Slowing user growth and falling ad revenues, alongside surging capital expenditures likely goes a
long way towards explaining both the disappointing near-term outlook and the stock's re-pricing.

“While ATT remains the biggest targeting/measurement headwind and peak impact is likely midyear
2022 when it anniversaries, smaller incremental ones like iOS 15 and Android ID deprecation are
piling on and will linger through 2022,” said BMO Capital Markets analyst Daniel Salmon, who
lowered his rating on Meta to ‘market perform’, with a $290 price target, following last night's
earnings.

"More incrementally to us, the immediate impact of new advertiser tools and rate of adoption by
small businesses are weaker than we anticipated,” he added. “Finally, the outlook for consolidated
company margins remains challenging in light of aggressive investing in the Metaverse. All of which
add up to a fact pattern than runs counter to our investment thesis, and is compounded by lower
MAUs and DAUs than expected and more relative engagement on lower monetizing Reels."

Want to read more? Check out TheStreet Smarts: The smartest place to start your investment
journey. Learn more!

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Meta Platforms (FB) Q4 2021
Earnings Call Transcript

By Motley Fool Transcribing - Updated Feb 3, 2022 at 10:40AM

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Meta Platforms (META 0.22%)
Q4 2021 Earnings Call

Feb 02, 2022, 5:00 p.m. ET Af

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Operator

Good afternoon. My name is France, and | will be your conference operator today. At
this time, | would like to welcome everyone to the Meta fourth quarter and full year
2021 earnings conference call. All lines have been placed on mute to prevent any

background noise.

After the speakers’ remarks, there will be a question-and-answer session. [Operator

instructions] The call will be recorded. Thank you very much. Ms.

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Deborah Crawford, Facebook's vice president of investor relations, you may begin.

Deborah Crawford -- Vice President of Investor Relations

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Thank you. Good afternoon, and welcome to Meta’'s fourth quarter and full year 2021
earnings conference call. Joining me today to discuss our results are Mark Zuckerberg,
CEO; Sheryl Sandberg, COO; and Dave Wehner, CFO. Before we get started, | would like
to take this opportunity to remind you that our remarks today will include forward-

looking statements.

Actual results may differ materially from those contemplated by these forward-loo. |
statements. Factors that could cause these results to differ materially are set forth in
today's press release and in our quarterly report on Form 10-Q filed with the SEC. Any
forward-looking statements that we make on this call are based on assumptions as of
today, and we undertake no obligation to update these statements as a result of new
information or future events. During this call, we may present both GAAP and non-

GAAP financial measures.

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They just revealed what they believe are the ten best stocks for investors to buy right
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stocks are even better buys.

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*Stock Advisor returns as of August 17, 2022

A reconciliation of GAAP to non-GAAP measures is included in today's earnings press
release. The press release and an accompanying investor presentation are available on

our website at investor.fb.com. And now, I'd like to turn the call over to Mark.
Mark Zuckerberg —- Chief Executive Officer

Hi, everyone, and thanks for joining today. This was a solid quarter for our products
and business. It was also an important one for our company. In October, we
announced that Meta would be our new name and we laid out our vision for the

metaverse.

And when we shared our plans at Connect, | said this is not something were going to
do on our own. The metaverse will be built by creators and developers, it will be
interoperable, and it will touch many different parts of the economy. In the months
since, it's been exciting to see lots of other companies share their own plans for the
metaverse and how their experiences and products might show up too. And | look

forward to partnering with a lot of them as we work to bring this to life together.

So last year was about putting a stake in the ground for where we're heading, and this

year is going to be about executing. And today, I'm going to discuss our seven major

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investment priorities for 2022: and they're Reels, community messaging, commerce,
ads, privacy, Al, and of course the metaverse. And these are the areas that we're
putting a lot more talent and budget toward. But before | get to that, | want to briefly

touch on our Q4 results, which | know Sheryl and Dave are going to go deeper on.

I'm proud of the work that our teams did here. We shipped products, our community
continued to grow, and businesses of all sizes turned to us to help them reach people.
But there are two things that | want to call out that are having an impact on our

business. The first is competition.

People have a lot of choices for how they want to spend their time, and apps like
TikTok are growing very quickly. And this is why our focus on Reels is so important
over the long term, as is our work to make sure that our apps are the best services out
there for young adults, which | spoke about on our last call. The second area, and
related to this, is that we're in the middle of a transition on our own services toward
short-form video like Reels. So as more activity shifts toward this medium, we're

replacing some time in News Feed and other higher monetizing surfaces.

So as a result of both competition and this shift to short-term — short-form video, as
well as our focus on serving young adults over optimizing overall engagement, we’
going to continue to see some pressure on impression growth in the near term. Now
I'm confident that leaning harder into these trends is the right short-term trade-off to
make in order to get long-term gains. We've made these types of transitions before
with mobile feed and Stories, where we took on headwinds in the near term to align
with important trends over the long term. And while video has historically been slower
to monetize, we believe that, over time, short-form video is going to monetize more like
feed or Stories than like Watch.

So I'm optimistic that we'll get to where we need to be with Reels, too. Ultimately, our
continued success relies on building new products that people find valuable and enjoy

using. And in a competitive marketplace, we're focused on understanding the areas

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that we need to deliver on for people and executing against this strategy. Dave is going

to share more on these impacts to our business in a minute.

But before we get to that, | want to discuss our investment priorities for 2022. The first
one is Reels. You know, it's clear short-form video will be an increasing part of how
people consume content moving forward, and Reels is now our fastest-growing
content format by far. It's already the biggest contributor to engagement growth on

Instagram and it's growing very quickly on Facebook, too.

As we continue to improve the tools for creators, ranking for the people watching, and
as we roll out the product everywhere across the world, we expect that this will
continue growing quickly. So looking ahead, we're investing in simplifying video across
Instagram, building more great, creative, and monetization tools for creators, and
helping more people discover and interact with relevant Reels. The next investment
priority is community messaging, which is about chatting with groups of people that
you have something in common with, whether that's a shared community, interest, or
experience. You know, we already run some of the world's most popular messaging
platforms where people connect one on one or in groups, with friends, family, and

colleagues.

And we're seeing people increasingly want to share more things in messages that tiiry
would've previously maybe posted to feed. So | think the popularity that we're seeing
with apps like Slack in the workplace, or Discord or Telegram reflects this trend, too. So
were going to help people on WhatsApp better organize their group chats and make it
easier to find information for the communities that they're a part of, like parent groups
or neighborhoods. And we're also building Community Chats on Facebook and

Messenger for real-time conversations within those groups and communities.

| also want to call out business messaging, since it's an area where there's real
momentum here. We estimate that there are more than 1 billion users are connecting

with a business account across our messaging services every week. And we're

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partnering with companies like Uber and JioMart to help people book a ride or have
their groceries delivered right from a chat. And we're building new tools to make buying

online better for people and easier to manage for businesses.

And we believe that this can be an important business for us in the years to come.
We're also making good progress on our broader commerce efforts. We already help a
lot of businesses reach new and existing customers with personalized ads, and our
commerce tools are an extension of that. It's a seamless way for people and

businesses to buy and sell through our apps.

And our strategy here since introducing Shops a year and a half ago has been to make
it as easy as possible for people to make a purchase after discovering a new brand or
product without having to switch over to a browser or reenter their payment info. And
Sheryl will share more about our progress here, including some of the success we saw
over the holidays. Now next step is ads. And with Apple's iOS changes and new
regulation in Europe, there's a clear trend where less data is available to deliver

personalized ads.

But people still want to see relevant ads, and businesses still want to reach the right
customers, so we're rebuilding a lot of our ads infrastructure so we can continue tr
grow and deliver high-quality personalized ads. Now the next two priorities that | wan
to discuss focus on the infrastructure that underpins all of our products. The first one
is privacy. And we've made huge investments in strengthening our approach to privacy,

including rebuilding our privacy program and our privacy review process.

And we made updates to bring greater privacy to our products, including end-to-end
encrypted backups and disappearing messages on WhatsApp, and end-to-end
encrypted voice and video calling on Messenger. And over the next few years, we're
focused on building out a major privacy infrastructure project that will encode our
privacy commitments at a deeper level of our technical foundation to make them more

durable and make product development faster in this evolving environment. Now onto

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Al. This is one of the areas where we've routinely seen stronger returns on our

investments over time than we've expected.

Advances in Al enable a lot of the experiences that I've talked about so far. It enables
us to deliver better ads to people while using less data, that's core to our safety and
security work. It's meaningfully improved the relevance of Reels and overall content
ranking in general, and it plays a big role in our commerce efforts. Artificial intelligence

is also going to play a big role in our work to help build the metaverse.

We just announced our Al Research SuperCluster, which we think will be the world's
fastest supercomputer once it is complete later this year. And this is going to enable
new Al models that can learn from trillions of examples and understand hundreds of
languages, which will be key for the kinds of experiences that we're building. Now
looking ahead, we're focused on further scaling our computing power and
transforming our Al infrastructure through advances in foundational research, as well
as improvements to data center design, networking, storage, and software. Now the

last investment priority here is the metaverse.

We're focused on the foundational hardware and software that are required to build an
immersive, embodied internet that enables better digital social experiences than
anything that exists today. On the hardware front, we're seeing real traction with Ques:
2. People have spent more than $1 billion on Quest store content, helping virtual reality
developers grow and sustain their business. We had a strong holiday season and

Oculus reached the top of the App Store for the first time on Christmas Day in the U.S.

We're working toward a release of a high-end virtual reality headset later this year, and
we continue to make progress developing Project Nazare, which is our first fully
augmented reality glasses. And as for software, Horizon is core to our metaverse
division. | mean, this is our social VR world-building experience that we recently

opened to people in the U.S. and Canada.

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And we've seen a number of talented creators build worlds like a recording studio
where producers collaborate or a relaxing space to meditate. And this year, we plan to
launch a version of Horizon on mobile, too, so that'll bring early metaverse experiences
to more surfaces beyond VR. So while the deepest and most immersive experiences
are going to be in virtual reality, you're also going to be able to access the worlds from
your Facebook or Instagram apps as well, and probably more over time. So this will
enable us to build even richer social experiences where you can connect with friends in

the metaverse whether they're in VR or not.

We're also focused on avatars, which will be how you represent yourself in Horizon and
across other developers’ experiences in the metaverse. In December, we rolled out our
Meta Avatars SDK to all Unity developers on Quest and Rift, and Windows-based VR
platforms, letting developers bring Meta Avatars to their own VR experiences. And we
just announced an update that lets you further customize your avatar to better express
yourself. And we're introducing digital clothing, too, starting with an NFL partnership so

you can cheer on your favorite team.

You can use your avatar across Quest, Facebook, Instagram, and Messenger. So it
serves as another bridge between our 2D social apps and 3D immersive virtual reality
experiences. And we have a bunch of work ahead to make the avatars as expressi
and high-fidelity as they need to be to fully represent us and help us feel present with
one another. But | am very excited for the advances that we're making here. Now
making meaningful progress across all seven of these areas is going to improve the
services we offer today and will help power a more social, intuitive, and entertaining

metaverse, where people, businesses, and creators can all thrive.

And this fully realized vision is still a ways off. And although the direction is clear, our
path ahead is not yet perfectly defined. But I'm pleased with the momentum and the
progress that we've made so far, and I'm confident these are the right investments for
us to focus on going forward. 2022 is the first page of the next chapter for our

company.

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I'm grateful for all the talented teams at Meta and our partners for executing on this
important work, and of course for all of you who are on this journey with us. And now,

here's Sheryl.
Sheryl Sandberg — Chief Operating Officer

Thanks, Mark, and hi, everyone. Our total ad revenue in Q4 was 32.6 billion, which is up
20% year over year. The close of the year also marked the first time our business
generated more than $100 billion in annual revenue. | want to congratulate our teams

and thank our partners for helping us reach this milestone.

Throughout 2021, we saw solid growth, which continued in Q4. But there were a
number of dynamic factors that created headwinds for us this past quarter in addition
to those Mark described around competition and our shift to short-form video. We
were lapping a period of strong demand in 2020 that benefited from very strong
growth in online commerce, which has since slowed. Q4 was also the first holiday
season after Apple's iOS changes, which have had an impact on businesses of all

sizes, especially small businesses who rely on digital advertising to grow.

This will continue to be a factor in 2022. We've also heard from advertisers about o*' ~°
macro trends that contributed to the headwinds in Q4, including global supply cha.
disruptions, labor shortages, and inflationary pressures. A number of industry reports
have pointed to people shopping earlier in the holiday season to avoid potential supply
chain issues and shipping delays. This is in line with the behavior we saw from

advertisers, many of whom front-loaded their spend earlier than usual.

Mark talked about seven areas of investment. I'd like to talk about our progress in three
of those: ads, commerce, and messaging. First, ad. Like others in our industry, we

faced headwinds as a result of Apple iOS changes.

As we described last quarter, Apple created two challenges for advertisers: one is that

the accuracy of our ads targeting decreased, which increased the cost of driving

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outcomes; the other is that measuring those outcomes became more difficult. These
challenges are complex and interrelated. We're working to try and improve things. For
example, by making progress in closing the underreporting gap for iOS web
conversions and by introducing tools like our aggregated event measurement

solutions to deliver better insights for advertisers.

These efforts will help to mitigate some of the challenges. But we expect the overall
targeting and measurement headwinds to moderately increase from Apple's changes
and from regulatory changes in Q1 and throughout 2022. On the shift to short-form
video, | want to emphasize that while we're going through a transition, we're optimistic.
Right now, Reels monetizes at a lower rate than feed and Stories, but we expect this to

improve over time.

We've made successful transitions before, the shift from web to mobile and then
another shift from feed to Stories. We have a playbook here. The experience we have
from monetizing Stories is directly applicable, so we're not starting from scratch. We

think that over the long term, this shift will be a success for us and our partners too.

Second, commerce. We launched a number of new tools in Q4. We released new
features like ratings, reviews, and community replies to product questions, and
significantly improved Checkout stability. We brought Shops to Groups, and we staficu
testing Live Shopping for creators, an early glimpse of the immersive shopping

experiences that will be possible in the metaverse.

Our commerce strategy remains focused on three areas: continuing to be the best
place for advertisers to find customers and get strong ROI; making it easier to sell on
our platform; and improving the customer experience. We still have a lot of work to do
compared to other mobile and web shopping experiences, but we're seeing promising
early signs. It's great to see businesses and consumers using social and immersive

shopping experiences like Product tags, Drops, and Live Shopping. A good example is

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8/15/22, 10:52 PM Meta Platforms (FB) Q4 2021 Earnings Call Transcript | The Motléy Fool

The Laundress, a premium fabric care and home cleaning brand from Unilever that

wanted to build awareness of a new line it developed with the musician John Mayer.

In November, they launched exclusively on Instagram for 24 hours and hosted a Live
Shopping event: a conversation between John Mayer and Laundress co-founder
Lindsey Julia Boyd, where people could buy the new products as they talked about
them live. The hour-long event generated more than $40,000 in sales. Overall, we're
pleased with the engagement we saw with our commerce tools over the holiday
season and view Q4 as a promising milestone in our multiyear journey. Third, business

messaging.

Our focus is on helping businesses and consumers connect. Our largest monetization
effort is Click to Messaging ads, where you click on an ad in your Facebook or
Instagram feed and it opens a chat with the business in Messenger, Instagram Direct,
or WhatsApp. It's a great way for businesses to drive engagement. And we've seen lots
of demand from consumers who want to use our messaging apps for everyday

services like utilities, financial services, education, and travel.

In Q4, we expanded the types of information people can choose to receive from
businesses in the formats in which they can interact. We're continuing to invest in '
tools to make it easier for people to help and make purchases right from a chat. Mae
than 150 million users globally now view a business catalog on WhatsApp each
month. And new features like Collections on WhatsApp help businesses organize their

products and make it straightforward for people to find things to buy.

As we enter 2022, our focus is where it has always been: building products that help
people connect and businesses grow. We're making long-term investments to evolve
our business and continue to drive real value for our partners. In the coming year, we'll
continue to invest in things that improve ad performance for our clients, in short-form
video like Reels, and in making the commerce experience better for consumers and

marketers on our platforms. As ever, I'm grateful to our partners around the world, big

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and small, who we learn from every day, and to our teams at Meta who work so hard to

help businesses through the holiday season and beyond.
Now, here's Dave.
Dave Wehner - Chief Financial Officer

Thanks, Sheryl, and good afternoon, everyone. As we announced in October, beginning
this quarter, we're reporting revenue and operating income in two segments: family of
apps and reality labs. | will begin by discussing our consolidated results before moving
to segments and ending with our outlook. All comparisons are on a year-over-year

basis unless otherwise noted.

We delivered solid results in the fourth quarter, ending a strong year for our business
as full year 2021 total revenue grew 37% to nearly $118 billion. Q4 total revenue was
$33.7 billion, up 20%, or 21% on a constant currency basis. Unlike the first three
quarters of 2021, we experienced a currency headwind in Q4, and had foreign
exchange rates remained constant with Q4 of last year, total revenue would have been
about $307 million higher. Q4 total expenses were $21.1 billion, up 38% compared to

last year.

In terms of the specific line items, cost of revenue increased 22%, driven primarily by
reality labs hardware costs, core infrastructure investments, and payments to partners.
R&D increased 35%, driven primarily by hiring to support family of apps and reality labs
as we increase - as well as increased reality labs R&D operating costs. Marketing and
sales increased 34%, mainly driven by marketing spend and hiring. Lastly, G&A

increased 107%, driven primarily by legal-related costs and employee-related costs.

We added over 3,700 net new hires in Q4, the majority in technical functions. We ended
the quarter with over 71,900 full-time employees, up 23% compared to last year. Fourth
quarter operating income was $12.6 billion, representing a 37% operating margin. Our

tax rate was 19%.

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Net income was $10.3 billion, or $3.67 per share. Capital expenditures, including
principal payments on finance leases, were $5.5 billion, driven by investments in data
centers, servers, network infrastructure, and office facilities. Free cash flow was $12.6
billion. We repurchased $19.2 billion of our Class A common stock in the fourth

quarter, and we ended the quarter with $48.0 billion in cash and marketable securities.

Moving now to our segment results. I'll begin with the family of apps segment. Q4 total
family of apps revenue was $32.8 billion, up 20%. Q4 family of apps ad revenue was

§32.6 billion, up 20%, or 21% on a constant currency basis.

On a user geography basis, year-over-year ad revenue growth was strongest in Asia
Pacific at 31%. Rest of World, Europe, and North America grew 28%, 20%, and 15%,
respectively. Currency was a modest headwind in all international regions. In Q4, the
total number of ad impressions served across our services increased 13%, and the

average price per ad increased 6%.

Impression growth was primarily driven by Asia Pacific and Rest of World, while
impressions in North America declined 6% year over year. On a global basis,
impression growth benefited from ad load increases and user growth. This was
partially offset by engagement-related headwinds as we faced increased competit’
for people's time and a shift of engagement within our apps to video surfaces like
Reels, which show fewer ads than feed or Stories today. Pricing growth was broad-

based across regions.

Worldwide pricing growth slowed from the third quarter as we lapped stronger growth
in the year-ago period and faced currency headwinds. Pricing was also negatively
impacted by advertisers facing challenges from macroeconomic factors and
measurement and targeting headwinds. Family of apps other revenue was $155
million, down 8% due to a decline in payment revenue earned from games. Family of
apps expenses were $16.9 billion, up 35% due to higher legal-related costs, employee-

related expenses, marketing, infrastructure-related costs, and payments to partners.

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Family of apps operating income was $15.9 billion, representing a 48% operating
margin. We estimate that approximately 2.8 billion people used at least one of our
family of apps on a daily basis in December and that approximately 3.6 billion people
used at least one on a monthly basis. Facebook daily active users were 1.93 billion, up
5%, or 84 million compared to last year. DAUs represented approximately 66% of the

2.91 billion monthly active users in December.

MAUs grew by 115 million, or 4% compared to last year. Facebook user growth was
impacted by a few headwinds in the fourth quarter. In Asia-Pacific and Rest of World,
we believe COVID resurgences during prior periods pulled forward user growth. User

growth in India was also limited by an increase in data package pricing.

In addition to these factors, we believe competitive services are negatively impacting
growth, particularly with younger audiences. Within our reality labs segment, Q4
revenue was $877 million, up 22%, driven by strong Quest 2 sales during the holiday
season. Reality labs expenses were $4.2 billion, up 48%, driven by employee-related
costs, R&D operating expenses, and cost of goods sold. Reality labs operating loss

was $3.3 billion in the fourth quarter.

For the full year 2021, reality labs operating loss was $10.2 billion. Turning now to ’
outlook. We expect first quarter 2022 total revenue to be in the range of $27 billion w
$29 billion, which represents 3% to 11% year-over-year growth. We expect our year-
over-year growth in the first quarter to be impacted by headwinds to both impression

and price growth.

On the impressions side, we expect continued headwinds from both increased
competition for people's time and a shift of engagement within our apps toward video
surfaces like Reels, which monetize at lower rates than feed and Stories. On the pricing
side, we expect growth to be negatively impacted by a few factors. First, we will lap a
period in which Apple's iOS changes were not in effect and we anticipate modestly

increasing ad targeting and measurement headwinds from platform and regulatory

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changes. Second, we will lap a period of strong demand in the prior year, and we're
hearing from advertisers that macroeconomic challenges like cost inflation and supply

chain disruptions are impacting advertiser budgets.

Finally, based on current exchange rates, we expect foreign currency to be a headwind
to year-over-year growth. In addition, as noted on previous calls, we also continue to
monitor developments regarding the viability of transatlantic data transfers and their
potential impact on our European operations. Turning now to the expense outlook. We
expect 2022 total expenses to be in the range of $90 billion to $95 billion, updated

from our prior outlook of $91 billion to $97 billion.

Our anticipated expense growth is driven by investments in technical and product
talent and infrastructure-related costs. We expect 2022 capital expenditures, including
principal payments on finance leases, to be in the range of $29 billion to $34 billion,
unchanged from our prior estimate. Our planned capital expenditures are primarily
driven by investments in data centers, servers, network infrastructure, and office
facilities. As we discussed previously, this range reflects a significant increase in our Al
and machine learning investments, which will support a number of areas across our

family of apps.

While our reality labs products and services may require more infrastructure capaciy
in the future, they do not require substantial capacity today and, as a result, are not a
significant driver of 2022 capital expenditures. Onto tax. Absent any changes to U.S.

tax laws, we expect our full year 2022 tax rate to be similar to the full year 2021 rate.

Separately, today, we announced that our Class A common stock will begin trading on
NASDAQ under the ticker symbol META in the first half of 2022. The new ticker symbol
aligns with our rebranding from Facebook to Meta. In closing, 2021 was a strong year
for our business and an important year for the company as we aligned our corporate
identity with our long-term ambition to build the next generation of online social

experiences. We are investing aggressively in 2022 to support our product road map

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as we work to deliver new and engaging experiences for people and support the
businesses and creators who rely on our services. With that, France, let's open up the

call for questions.

Questions & Answers:

Operator

We will now open the lines for a question-and-answer session. [Operator instructions]

And our first question is from the line of Brian Nowak with Morgan Stanley.
Brian Nowak -- Morgan Stanley -- Analyst

Thanks for taking my questions. | have two. The first one on the Reels transition. You
know, you all talked about how you've been through other transitions in the past with

mobile and Stories, etc., and you successfully navigated through.

Is there anything that's unique or more challenging about the Reels transition that
makes you think it could take potentially longer to sort of scale those ad products for
this format as opposed to other formats in the past? Then the second one, Dave, wr >
you sort of talk about the headwinds around ad targeting and measurement becon.
larger in the first quarter and in 2022, is there anything other than sort of year-on-year
data comps there? Or are you expecting other changes from a signal perspective, and
maybe help us understand any further changes you expect to come on the signal loss

perspective? Thanks.
Dave Wehner -- Chief Financial Officer

Yeah. Thanks, Brad. | can probably take both of those or — yeah. So on Reels, | mean |
think there's a lot of the characteristics of Reels that makes it, you know, quite similar

to the transition that we've gone through before.

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As in the past when we were focused on Stories, you know, we're really focused on
consumer experience and really making short-form video work effectively on both
Instagram and Facebook, and we're already seeing that be the, you know, the biggest
driver of growth on Instagram, and it's growing very quickly on Facebook. So we're
really encouraged by what we're seeing. But we're really focused on making the
consumer experience right. And over time, we do think it's format that will work
effectively for advertising, and we think the experience that we have for Stories will

really lend itself well in the Reels format.

So, you know, we're confident in our ability to monetize over time. But right now, there's,
you know, relatively few ads in story ~ sorry, relatively few ads in Reels today. So it's
definitely something that from an impression growth and monetization perspective is
going to be a headwind. On iOS 14, you know, we saw the revenue impact with iOS 14 -
sorry, iOS just in general, in Q4, and that was in line with our expectations and similar to
the Q3 headwind.

But, obviously, as we go into 2022, we're going to be lapping a period in which in Q1
and Q2, those headwinds were not in place in the year-ago period. So that definitely
makes for a tough comp in the first half of the year. And, you know, we believe the
impact of iOS overall as a headwind on our business in 2022 is on the order of $1(
billion, so it's a pretty significant headwind for our business. And, you know, we're

seeing that impact, you know, in a number of verticals.

E-commerce was an area where we saw, you know, a meaningful slowdown in growth
in Q4. And similarly, we've seen other areas like gaming be a challenge. But, you know,
on e-commerce, you know, it's quite noticeable — notable that Google called out, seeing
strength in that very same vertical. And so, you know, given that we know that e-
commerce is one of the most impacted verticals from iOS restrictions, it makes sense
that those restrictions are probably part of the explanation for the difference between

what they were seeing and what we were seeing.

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And if you look at it, you know, we believe those restrictions from Apple are designed in
a way that carves out browsers from the tracking prompts Apple requires for apps.
And so, you know, what that means is that search ads, you know, could have access to
far more third-party data for measurement and optimization purposes than app-based
ad platforms like ours. So, you know, when it comes to using data, you can think of it —
you know, there's -- it is not really apples-to-apples for us. And as a result, you know, we
believe Google Search ad business could have benefited relative to services like ours is

based a different set of restrictions from Apple.

And, you know, given that Apple continue to take billions of dollars a year from Google

Search ads, the incentive clearly exists for this policy discrepancy to continue.
Operator

Our next question is from Eric Sheridan with Goldman Sachs. Please go ahead.
Eric Sheridan -- Goldman Sachs -- Analyst

Thanks so much. Maybe two questions, if | can. First, following up on Brian's questions
about Reels. | think when we've gone through these transitions before, you've talked a
little bit about what you're seeing from an engagement standpoint about Reels anc
how levels of engagement compared to other forms of engagement from a consumer
perspective on the property and what the differential might be in terms of wallet's early

innings, in terms of differential ad pricing and how you think to close that gap.

Is there any willingness you're able to give us on both engagement levels or pricing
differential so we can think through what the transition scope might need to be? And
then, Sheryl, on the last call, if | remember correctly, you talked about elements of as
we move into Q1 in the first half, some of the workaround efforts that the team were
trying to implement would start to show some efficacy. Can you give us an update on

where you stand internally on workarounds and broader advertiser community

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acceptance of some of the workarounds on targeting and measurement as we move
into the first half? Thank you.

Mark Zuckerberg — Chief Executive Officer

Sure. | can start with your first question on some of what we're seeing on engaging —
engagements. Reels and short-form video overall are very engaging. And, you know, a
lot of what we're seeing is that there is — you know, people are spending a lot more
time and, you know, | think | mentioned this in my script upfront that, you know, it's

growing very quickly.

This is already the biggest contributor to engagement growth on Instagram. | think it's
one of the biggest contributors that we're seeing to positive engagement on Facebook,
too, already. But | think going back to the last question, when - there was a question on
what -- you know, are there any factors here that will -- what are the similarities and
differences to what we've seen in the past? The big similarity is that this is, you know,
certainly not the first time that we've gone through a major format evolution. And, you
know, what these transitions have all had in common, from desktop feed to mobile
feed, feed to Stories, and now to Reels is in the beginning, our ad system and business

are not as tuned for the new format.

So as the engagement of the new thing starts to replace some of the engagement in
the old thing, it creates a near-term headwind for revenue, but it's not - that part is -- at
this point, now, is not that big of a concern for us. | mean, it makes some of the stuff,
you know, not as clear in the near term, but over the long term, we're pretty optimistic
about that. The dynamic that | think is actually a little bit different with Reels than what
we've seen with Stories and mobile feed in the past is with Reels, | would say that the
teams are executing quite well and the product is growing very, very quickly. The thing
that is somewhat unique here is that TikTok is so big as a competitor already and also

continues to grow at quite a faster rate off of a very large base.

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And so that — to the question that was asked before around are we like -- that was
asked before around, is there anything that's going to make it so that we -- it takes us
longer to kind of get to where we want on this, is that even though we're compounding
extremely quickly, that's -- you know, we also have a competitor that is compounding at
a pretty quick rate, too. But overall, back to the question, Reels, it's extremely engaging.
| think overall engagement will grow as a part of this. And that's why were optimistic

about the future, but there's a lot of work to do here.
Dave Wehner -- Chief Financial Officer

And then, Sheryl, were you going to take the second part of the question on the

mitigation front?
Sheryl Sandberg -- Chief Operating Officer

Yeah. So when we talked about mitigation, we've said there are two key challenges
from the iOS changes: targeting and measuring performance. On targeting, it's very
much a multiyear development journey to rebuild our ads optimization systems to
drive performance while we're using less data. And as part of this effort, we're
investing in automation to enable advertisers to leverage machine learning to find tr

right audience with less effort and reduce reliance on targeting.

That's going to be a longer-term effort.On measurement, there were two key areas
within measurement, which were impacted as a result of Apple's iOS changes. And |
talked about this on the call last quarter as you referenced. The first is the
underreporting gap. And what's happening here is that advertisers worry they're not

getting the ROI they're actually getting.

On this part, we've made real progress on that underreporting gap since last quarter,
and we believe we'll continue to make more progress in the years ahead. | do want to
caution that it's easier to address this with large campaigns and harder with small

campaigns, which means that part will take longer, and it also means that Apple's

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changes continue to hurt small businesses more. The second area underneath the
measurement challenge is really -- are really data delays. As part of the iOS changes,
we and many other ad platforms, we receive less granular conversion data on a

delayed basis.

And what advertisers shared with us that this makes real-time decision-making,
especially difficult, and that's particularly important during the holiday period, where
people are often spending a lot and really monitoring their ads and adjusting spend,
you know, not even on a daily basis but often on an hourly basis. And that was one of

the challenges we faced during this holiday quarter.

Operator

Our next question is from Justin Post with Bank of America. Please go ahead.
Justin Post -- Bank of America Merrill Lynch ~- Analyst

Great. Thank you. A couple. Mark, just on a big picture basis, you know, you're adding a
lot of short-form video, and maybe the content shifting from content from your friends

to general content, what does that mean for Facebook? I'm sure you've thought about a
lot of it.

But how do you think about the evolution of Facebook as a platform? And then for
Dave, as you think about the measurement and targeting challenges, when we get out
to September and October, you know, should we be effectively lapping the issues? Or is
there the reason to think it could actually get worse in the second half, just thinking

about revenue growth kind of reaccelerating?
Mark Zuckerberg -- Chief Executive Officer

| can take the first one. So for Facebook, | think, you know, content from your friends is

always going to be an important part of the experience. And so we'll be discussing

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stuff that you find with friends, whether it's in a group or community or public content
or Reels or news or different content like that. But | think, overall, you're right, that the
balance of content that people see in feeds is shifting a little bit more toward stuff that
isn't coming from their friends, which you may discuss with your friends, but it is kind

of shifting toward more public content.

| think, at the same time, we're seeing this trend where if you can do your day-to-day
behavior on a lot of this stuff, you know, this pattern may resonate with you. But a lot of
people now are taking a lot of the content that they may have previously shared in a
feed and sending it to friends over chats, you know, whether it's one on one or through
group chats. And this is one of the reasons why | called out community messaging as
one of the major priorities for us. Because if you look at the overall constellation of

services, a lot of the kind of personal sharing is sort of shifting toward messaging.

And a lot of the — what we're seeing in feeds is just basically this content consumption
and a lot of just really highly engaging content that forms the basis for conversations,
whether it's in chat or in common trends in those feed apps. But that type of creative
work is a lot more of what we're seeing across the feed apps, so whether that's

Facebook or Instagram.
Dave Wehner -- Chief Financial Officer

Hey, Justin, it's Dave. On the second part of your question, it's really about sort of
what's the landscape of headwinds look like as it relates to targeting and
measurement. And there -- | think what we're seeing is kind of two things going on.
We've got incremental headwinds coming from things like iOS 15, which provides

some additional sort of targeting and measurement headwinds.

But those are far less significant than the changes made with iOS 14.5, which really
started to have an impact more seriously on the business in the second half of last

year. So | think that lapping effect is going to be very pronounced in the first half of the

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year where we're lapping periods that, you know, didn't have that impact. So that's
where we're going to see the biggest impact from the lapping. But we're continuing to
fix more headwinds as it relates to like iOS 15 and also, you know, further regulatory

headwinds that restrict the use of data for targeting purposes in regions like Europe.

So we'll continue to see headwinds. | think we're working to mitigate those. But, you
know, the biggest lapping effect will be in the first half of the year where we didn't have

the big iOS 14 headwinds in the same period last year.

Operator

Our next question is from Doug Anmuth with J.P. Morgan. Please go ahead.
Doug Anmuth -- J.P. Morgan - Analyst

Thanks for taking the questions. Mark, you talked last quarter, | think, about how Reels
would become better integrated into both Facebook and Instagram. Can you just talk
about where you are in that process? Clearly, we've seen some. I'm just curious if
there's more in the product pipeline, and could that deeper integration potentially have
even greater drag on revenue going forward? And then, Dave, just curious if you're

willing to comment on a reality lab spend or loss number in '22?
Mark Zuckerberg -- Chief Executive Officer

| can talk about the first piece. | mean, | think we're probably a little further along than
just the beginning, but I'd say we're closer to the beginning than the end of the trend on
Reels. You know, there's a big flywheel here where more creators share more content.
And because we have a mix of content in the feeds, you know, from all different types,

we're only going to show Reels or recommend them.

If we feel like there's high-quality content to show as there's more high-quality content,

we show more of it. There certainly will be a lot more. We think it's growing - it is going

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to grow a lot going forward, we believe, in engagement on both of those platforms. So

yeah, | mean, | think that we probably will see.

And as we're forecasting, and | think Dave has talked about here, you know, the relative
monetization rate of Reels for the next, | don't know, for whatever the foreseeable
future is, will be lower than feeds as we kind of displace some of that with this. But,
you know, over time, we think that there's a potential for a tremendous amount of
overall engagement growth, and we think that in a steady state over time, we think that
Reels should monetize closer to feeds or Stories than other, you know, longer-form
video. So | think we're optimistic about it. And I think that that's — we think it's definitely
the right thing to lead into this and to push us hard to grow real as quickly as possible
and not hold on the brakes at all, even though it may create some near-term slower

growth than we would have wanted.

That's kind of -- that's the picture that | see. | don't know if you want to add anything to
that.

Dave Wehner -- Chief Financial Officer

No, I think that's exactly right. That's what's kind of factored into the guidance we're
providing specifically for Q1. And then, Doug, on the expense outlook, we're not
breaking out expenses by segment, but | probably can give some color here. You know,
we're expecting accelerated headcount growth in 2022 to be the biggest contributor of
expense growth, and that's largely in tech and product roles to support the seven
product priorities that Mark laid out: Reels, community messaging, commerce, ads,

privacy, Al, and the metaverse.

And the - you know, a number of those investment priorities map to our family of apps
segment, and we expect family of apps to continue to drive the majority of expense
growth in 2022. Though we do expect reality labs operating loss to increase

meaningfully in '22, and that's incorporated into our outlook.

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Operator

Our next question is from the line of Mark Mahaney with Evercore ISI. Please go ahead.
Dave Wehner -- Chief Financial Officer

Mark?

Operator

Mr. Mahaney, your line is open, sir.

Mark Mahaney -- Evercore /S/ - Analyst

One more time. OK, got it. All right. | want to ask two questions, please.

First, on ESG. Could you just - there's been a series of steps that have been taken or
reducing the ability to do political targeting, the introduction of the Take a Break feature
within Instagram, and maybe a few other things that, you know, arguably have been put
out there to kind of address some of the ESG concerns. Where do you think you are in
terms of addressing some of those that we've heard in the investment community?
And then, Dave, | think you mentioned this $10 billion headwind, and | think that wa
related to some of these policy change, Apple policy changes. Could you just give a

little color as to how you came up with that number? Thanks a lot.
Dave Wehner -— Chief Financial Officer

Yeah, Mark, on the headwind, we're just estimating what we think is the overall impact
of the cumulative iOS changes to where 2022 -- or 2022 revenue forecast is. So if you
kind of aggregate the changes that we're seeing across iOS, that's sort of the order of

magnitude. We can't be precise on this. It's an estimate.

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You know, we've got ranges on the impact to our business. So we think it's a
substantial - you know, the substantial headwind to work our way through. And
obviously, we're working hard to mitigate those impacts and continue to make ads, you
know, relevant and effective for users. | don't have anything specific on the ESG front,

so | probably can't comment on that.

| can follow up with you offline on that.

Operator

Our next question is from Youssef Squali with Truist Securities.
Youssef Squali - 7ruist Securities - Analyst

Great. Thank you. | have two questions as well. Mark, you stated your goal of
refocusing on growth of younger audiences on the last earnings call, and | think you

even signaled back then that it could mean maybe let's focus on other constituency.

| know it may be early, but any color maybe to share on growth on users and
engagement by maybe age groups? And then probably another question for you. I'm
curious about when you think we can start seeing the kind of the mesh in of apps
Instagram with AR and VR and the interoperability of these apps. Is that something
where you think we're going to see gradually evolve? Or something that gets kind of

opened only once the metaverse is sufficiently built up whenever that is? Thanks.
Dave Wehner -- Chief Financial Officer

Let me take the first one.

Mark Zuckerberg - Chief Executive Officer

Sure.

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Dave Wehner -- Chief Financial Officer

| can take the first one on user growth uses. You know, | think what we said about, you
know, overall kind of user growth is we're certainly seeing an impact from strong
competition, particularly with younger audiences. So that's true, and we're kind of
seeing that globally. If you look at kind of the overall user growth landscape for the

fourth quarter, you know, we're seeing MAU and DAU in the U.S.

and Canada sort of bounce around at sort of expected and indicated, given our high
level of penetration. And then, you know, if you look at the Rest of World, we've seen
some headwinds there, kind of a little bit unique in the quarter in areas like India, where
we saw data plan pricing increase lead to slower growth there. So that's another kind

of some unique elements of the quarter on that front.
Mark Zuckerberg -- Chief Executive Officer

Sure. And in terms of when there's some aspects to the metaverse showing up, | mean
| talked about avatars in my remarks at the beginning and how we're making it to kind
of increasingly both expressive. And eventually -- and we've shown some demos
around photorealistic avatars of yourself that you can show up in all the different ar ~
and your avatar can show across Facebook and Instagram and Messenger, as weh
Quest, and we'll expand that further. And | think | also commented before about our
goal for 2022 to make it so that Horizon works not just in immersive VR but on 2D

screens as well.

Something you could potentially jump into those kind of worlds from Facebook or
Instagram or different apps as well. So | think you're seeing some of that stuff will -- is
already there. Some of it will come over the course of this year. Of course, the ability to

message across apps is something that we've been working on for a while.

You can already do that across Messenger and Instagram, and there's more there that

we'll roll out over time as well. So | think, yeah, you are going to see this stuff work

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seamlessly across the family.

Operator

Our next question is from John Blackledge with Cowen. Please go ahead.
John Blackledge -- Cowen and Company - Analyst

Great. Thanks. Two questions. Maybe first one for Mark.

How has Reels differentiated versus TikTok, YouTube Shorts, and other short-form
video services? And one for Sheryl, any further color on how SMBs are changing ad
spend budget since the iOS changes? And is it slowing adoption of new SMB

advertisers on Facebook? Thank you.
Mark Zuckerberg - Chief Executive Officer

Sure. So | can start with Reels. You know, one of the things that | think we've seen is
that there are some fundamental formats in social media like feeds and Stories, and
now | think this Reels short-form video format, that within the context of a different
network or community, the same format will take on different characteristics. So fr
example, the kind of discussions that you might have in a feed on Twitter or on
Pinterest are different from what you would do in Facebook or Instagram, even given a

relatively similar format.

So | think, to some degree, even if a creator chooses to reshare their content across
the number, you'll have different discussions with your friends across the different
services based on who's there. And then there's a social dynamic where friends and
different communities create these as well. So seeing somewhat different Reels
across Facebook and Instagram, and I'm sure you see different stuff across TikTok,

too. But what we're seeing is that this is all growing incredibly quickly.

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So it's hard to know exactly where this is going to settle in the end, but we just think the
appetite that people have. You know, there's been this long-term trend that |
commented on a number of times where, you know, over the time that I've been
running this company, 18 years this week, you know, basically, we've gone from, you
know, text being the primary way that people share and consume content online at the
beginning of the early 2000s to - until we got cameras on our phones and photos
became the primary thing. And now that mobile networks are starting to get - gotten
really good, video is really becoming the primary thing, and it is a lot more natural and
engaging. This is partially, by the way, why I think that an even more immersive format
around virtual reality and augmented reality is going to be the kind of next step after

video and why were so invested there.

But definitely, what we're seeing with short-form video is it's the next step from the kind
of visual feeds that we have and the amount of engagement and content that people
want to share and interact with and whether it's taking it and sending it to a friend in
messaging or commenting online or just having fun watching it themselves. It's ~ in
general, we're seeing people spend a lot more time on this than what we've seen from
apps so far. And that's also reflected in the success that other apps like TikTok have

had. So there's a lot more to go here.

We think we will have competitors across the industry. But, you know, as we've seen
with some of these other formats, too, it will feel different depending on the context in

which it's implemented and the content from your friends.
Operator

Our next question is from Lloyd Walmsley with UBS.
Sheryl Sandberg -- Chief Operating Officer

Sorry, | think --

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Mark Zuckerberg -- Chief Executive Officer
Hey, | think we had a follow-up on SMB.
Sheryl Sandberg -- Chief Operating Officer

Yeah, just a follow-up, | wanted to answer the SMBs. So it's a good question because,
you know, as we've said, the iOS changes definitely hurt advertisers across the board,
but they're much harder for SMBs. The progress we made on the measurement gap,
which I| talked about before, we've made more progress with larger clients than we

have with SMBs. It's also the case that personalized ads are more important for SMBs.

You know -- and SMB really needs to buy a very small targeted audience that they're
looking for. And the larger the business, the more you're able to personalize the ad
less. So we're definitely seeing that this has more of an impact for SMBs. We do feel,
over the long run, that we believe we have strong benefits for SMBs in using our ad

system.

We are going to continue to work on these measurement gaps and continue to make
sure SMBs can use it. We're also working hard on SMBs adopting some of our
commerce tools and some of our other solutions like business messaging and sex

some success there. But you are right that this remains a challenge.
Operator

And our next question is from Lloyd Walmsley with UBS. You may go ahead.
Lloyd Walmsley -- UBS - Analyst

Hi, thanks for taking the question. Maybe one for Mark and one for Sheryl. Mark, if we
look at short-form video, you know, how do you feel right now about the state of your

content and you're matching algorithm relative to where you want it to be? | mean do

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you have the content you need? Are you getting it in front of the right users, or is there
a lot of room to improve this and drive more engagement? And then, Sheryl, where
exactly are you in terms of rebuilding the ad product? And what are the key things you
need to see to kind of roll out or would the customers either need to adopt or do on
their end to really start to see improvement to Reels ads and a return on that budget?
Like are there certain features like API that you need to get adopted? Are there tools in
the pipeline? Are there things they need to do on their end? What do we need to see to

see that come back?
Mark Zuckerberg -- Chief Executive Officer

| can take the Reels question. So we do see a huge amount of potential ahead. But, you
know, | think sometimes when we Say that there's -- you know, that we're closer at the
beginning, what that means is that we still have a lot of kind of fundamental questions
to overcome in order to make progress to get where we're going. With this product,
what we see is, there is very clear product-market fit, and it is growing incredibly

quickly.

It -- you know, we face a competitor in TikTok that is a lot bigger, so it will take a while
to compound and catch up there. But fundamentally, you know, we think that there’
lot of potential for it to continue growing. So to your question, do we have the conte:.
that we need, you know, it's a flywheel. So the better tools that we can build for
creators and the better monetization we can offer them, which tends to be an
advantage that we have over other competitors is how effective our monetization and
ad systems are, then | mean the bigger it gets, the more it will attract more creators,
and it will kind of build on itself.

And we think that we're earning at a scale where we're seeing that flywheel really kick
in and start to grow. And if it keeps on compounding at the rates that it's growing at,
this is going to grow extremely quickly over the next year and potentially beyond that.

But yeah, | think that's kind of the best summary that | can give of where we are. Clear

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product-market fit, growing quickly, long way to go to catch up to be the biggest in the

space.

But | think the pieces are in place and the focus is certainly there at this point to really
go after that. It's just that as this grew, it is -- at least for the, you know, coming
quarters, it's going to monetize at a somewhat lower rate, which is reflected in the
guidance that Dave gave. But, you know, again, | think this is clearly the right strategy

for us to push on. This is what people want.

They enjoy the product. We're going to - so we're just going to roll it out as quickly and

as well as we can.
Sheryl Sandberg -- Chief Operating Officer

On the question of what we need to see to rebuild ad products and continue to grow
return on ad spend. In the short run, as | talked about, we're working on measurement,
were rolling out new to help businesses continue to measure campaigns using Apple's
SK ad network, API, and Meta's aggregated events measurement and conversion
modeling. So we have specific products that people can adopt that help us. Over the
longer term, we need to develop privacy-enhancing tech to help minimize the amov~ °

of personal information we learn and we use.

Use more aggregate, use more anonymized data while still allowing us to show
relevant ads, and that's going to take us time. But one thing | do want to point out is
there are also a lot of things that small businesses and large businesses can do to
take advantage of the many targeting and measurement tools we have. So while we
have seen an impact from these changes, we also didn't start from a place where 100%
of our millions and millions of advertisers are using the tools that are available. So
while we continue to get those that were all the way on the adoption curve to learn and
adapt to these changes, there are also advertisers out there that aren't doing even the

basic things yet, but we can continue to work on and improve their performance.

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We still believe there's a lot of performance improvement left in the system.

Deborah Crawford -- Vice President of Investor Relations

Great. Operator, we have time for one last question.

Operator

Very good. Our last question will be from the line of Ross Sandler with Barclays.
Ross Sandler -- Barclays - Analyst

Thanks for squeezing me in. | guess, Dave, a question on the family of apps segment
margin. This hasn't come up yet, but it was down about six points year on year. And |

know that you had kind of forecasted the expense growth that you came in at for '21.

But | think that downtick is coming as a bit of a surprise for some folks who thought
your ad business had fairly stable margins. So any more color on what's driving that? Is
that just the revenue headwinds that you're experiencing or any other lumpy items?
And then related to that, as you build out short-form video, how has your thinking
evolved around paying rev share like YouTube does, or other things like that to cat

the shift? Any thoughts on that?

Dave Wehner -- Chief Financial Officer

Yeah, Ross. | think in terms of lumpy items, | mean, you will see the G&A was up a
pretty substantial amount in Q4. So a part of that is related to legal-related expenses
that tend to be lumpy, so there was a factor there. | think, in general, as it relates to
family of apps and margin, you know, I'd come back to the commentary that I made on
the investments that we're making in family of apps, you know, being an area where
we're investing heavily in 2022 across the priorities that Mark outlined, including Reels,

messaging, commerce, and ads.

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There's a big investment that we're making on the capex side that's primarily geared
toward, you know, Al and machine learning for, you know, the family of apps business,
so -- segment. So there's a lot of investments that we're making there. What was, I'm
sorry, the second question? Oh, yeah, in terms of, you know, payments to partners, that
clearly will play into the expense profile as we grow that - as we grow short form, so
that's also reflected as part of the guidance for expenses. So, you know, over time, that
will be an impact as well, and that's part of the investment that we're making, you

know, on the Reels side and is factored into the 2022 outlook.
Deborah Crawford -- Vice President of Investor Relations

Thank you. Thanks, everybody, for joining us today. We appreciate your time, and we

look forward to speaking with you again.

Operator

[Operator signoff]

Duration: 76 minutes

Call participants:

Deborah Crawford -- Vice President of Investor Relations
Mark Zuckerberg - Chief Executive Officer

Sheryl Sandberg ~ Chief Operating Officer

Dave Wehner -- Chief Financial Officer

Brian Nowak - Morgan Stanley -- Analyst

Eric Sheridan - Goldman Sachs - Analyst

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Justin Post - Bank of America Merrill Lynch -- Analyst

Doug Anmuth -- J.P Morgan -- Analyst

Mark Mahaney -- Evercore /S/ -- Analyst

Youssef Squali -- Truist Securities -- Analyst

John Blackledge -- Cowen and Company - Analyst
Lloyd Walmsley -- UBS -- Analyst

Ross Sandler -- Barclays -- Analyst

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